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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON



 UNITED STATES OF AMERICA,                       Case No. 3:20‐cr‐00223‐IM

                            Plaintiff,           REQUEST FOR DISCOVERY


                     v.

 JACOB MICHAEL GAINES,

                            Defendant.



                              REQUEST FOR DISCOVERY

      Rule 16 of the Federal Rules of Criminal Procedure is “intended to prescribe the

minimum amount of discovery to which the parties are entitled. It is not intended to limit

the judgeʹs discretion to order broader discovery in appropriate cases.” United States v.

Armstrong, 517 U.S. 456, 475 (1996) (Breyer J., concurring) (quoting Advisory Committee’s




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Notes on Fed. R. Crim. P. 16, 18 U.S.C. App., p. 761); see also United States v. Burns, 15 F.3d

211, 215 n.2 (1st Cir. 1994).

       Moreover, under the principles of Brady v. Maryland, 373 U.S. 83 (1963), “the

individual prosecutor has a duty to learn of any favorable evidence known to the others

acting on the government’s behalf in the case, including the police.” Kyles v. Whitley, 514

U.S. 419, 437 (1995) (emphasis added); United States v. Hanna, 55 F.3d 1456, 1461 (9th Cir.

1995) (same); see United States v. Alvarez, 86 F.3d 901, 905 (9th Cir. 1996) (“better practice

is for the prosecutor herself to review [surveillance notes for Brady material]”); see also

U.S. Atty’s Manual, §§ 9:5.000 & 9:5.001 (as revised eff. Oct. 19, 2006) (“Upon a

defendantʹs request, the government must make available all information that is known

to the attorney for the government or agents of law enforcement involved in the

investigation of the case that is either exculpatory or impeaching.”).

       In light of the foregoing, and in light of the authority set forth below, the defendant

requests the government to produce discovery of the following:

       1.     All state or federal reports relating the circumstances of any search

involving the defendant or his property, each co‐defendant and his property, or any other

search related to this case, listing the items seized and the information obtained as a result

of these searches. This information is necessary to enable the defendant to prepare

motions to suppress evidence. Fed R. Crim P. 16(a)(1); 12(b)(4)(B); 41(h).




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       2.     All written or recorded statements of the defendant and any co‐defendant

(including, but not limited to, grand jury testimony, telephone calls, depositions, etc.); see

Fed R. Crim P. 16(a)(1)(B); United States v. Bailleaux, 685 F.2d 1105, 1114 (9th Cir. 1982)

(“[g]overnment should disclose any statement made by the defendant that may be

relevant”), receded from on other grounds by United States v. Miller, 874 F.2d 1255 (9th

Cir. 1989); United States v. Alex, 788 F. Supp. 1013, 1016 (N.D. Ill. 1992) (where government

“offered no compelling explanation” for non‐disclosure of statements of co‐defendant,

court exercises discretion to order disclosure).

       3.     The substance of all oral statements of the defendant and any co‐defendant

to any government agent. Fed R. Crim P. 16(a)(1)(A). Alex, 788 F. Supp. at 1016; United

States v. Camargo‐Vergara, 57 F.3d 993, 998‐99 (11th Cir. 1995) (reversible error to fail to

disclose defendant’s post‐arrest statement where defense strategy affected).

       4.     Any agent’s underlying rough notes of the statements requested in items 2

and 3 above. See United States v. Harris, 543 F.2d 1247, 1253 (9th Cir. 1976) (rough notes

of interviews, especially with the accused, are discoverable and must be preserved);

United States v. Layton, 564 F. Supp. 1391, 1395 (D. Or. 1983) (court exercises discretion

under Rule 16 to order disclosure of notes of interview with defendant).

       This request includes all entries in officers’ field notebooks or equivalent. Harris,

543 F.2d at 1253 (“the original interview notes, especially relating to an FBI agent’s

interview with the accused, must be preserved” because potentially discoverable); United


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States v. Boshell, 952 F.2d 1101, 1105 (9th Cir. 1991) (defendant’s “confirmation of the facts

in the notes before they were dictated on tape makes the notes and the tape producible

under Jencks”); United States v. Wicktor, 403 F. Supp. 2d 964, 967 (D. Ariz. 2005) (officer

who testifies at a preliminary hearing based on written reports of other detectives adopts

those detectives’ reports as his “statements” for Jencks Act purposes); United States v.

Riley, 189 F.3d 802, 803 (9th Cir. 1999) (reversible error to destroy notes from interview

when there “was no substitute for the notes except the recollections of the agent and the

witness, which differed in several respects”); Alvarez, 86 F.3d at 904 n.2 (“Under the

Jencks Act, witness statements, including reports prepared by testifying officers, must be

turned over to the defense. Although an officer’s ‘rough notes’ need not be disclosed

pursuant to the Jencks Act as witness statements, United States v. Andersson, 813 F.2d 1450,

1459 (9th Cir. 1987), they must be disclosed pursuant to Brady if they contain material and

exculpatory information.”). Goldberg v. United States, 425 U.S. 94, 98 (1976) (“a writing

prepared by a Government lawyer relating to the subject matter of the testimony of a

Government witness that has been ‘signed or otherwise adopted or approved’ by the

Government witness is producible under the Jencks Act”); United States v. Well, 572 F.2d

1383, 1384 (9th Cir. 1978) (tape recordings of interviews).

       5.     A copy of the defendant’s and co‐defendants’ record of prior convictions

and the FBI rap sheet. Fed R. Crim P. 16(a)(1)(D); see United States v. Audelo‐Sanchez, 923

F.2d 129, 130 (9th Cir. 1991) (per curiam). Both national and local criminal records should


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be searched. See United States v. Perdomo, 929 F.2d 967, 970 (3d Cir. 1991); United States v.

Bryan, 868 F.2d 1032, 1036 (9th Cir. 1989) (prosecution “deemed to have knowledge of

and access to anything in the possession, custody or control of any federal agency

participating in the same investigation”).

       6.      All books, papers, documents, tangible objects, photographs, buildings or

places which are “material to preparing the defense.” Fed R. Crim P. 16(a)(1)(E)(I);

United States v. Cedano‐Arellano, 332 F.3d 568, 571 (9th Cir. 2003) (where reasonable

suspicion was based on the alert of a narcotics detection dog, the dog’s training and

certification records were material and discoverable); United States v. Bergonzi, 216 F.R.D.

487, 501 (N.D. Cal. 2003) (in securities fraud prosecution, the company’s internal report

and interview memoranda were material to the defense because the documents were

prepared with an eye toward discovering who was culpable for the crime).

       7.      All items in request 6 above which “belong[] to” the defendant. Fed R. Crim

P. 16(a)(1)(E)(iii).

       8.      All items in request 6 above which were “obtained from” the defendant.

Fed R. Crim P. 16(a)(1)(E)(iii).

       9.       Any evidence, including, but not limited to, the items in request 6 above

which are intended for use by the government as evidence in its case‐in‐chief. Fed R.

Crim P. 16(a)(1); see Fed R. Crim P. 12(b)(4)(B); United States v. de la Cruz‐Paulino, 61 F.3d




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986, 992‐995 (1st Cir. 1995) (government’s failure to designate evidence was violation of

Fed R. Crim P. 12(d)(2) which “creates a notice requirement”).

       10.    Any and all results or reports of physical or mental examinations and of

scientific tests or experiments, including, but not limited to, chemical analysis,

fingerprints, voice prints, and handwriting. Fed R. Crim P. 16(a)(1)(F).

       11.    A written summary of all expert‐witness testimony the government intends

to offer in its case‐in‐chief, whether or not the expert has prepared a written report,

describing “the witnesses’ opinions, the bases and reasons therefor, and the witnesses’

qualifications.” Fed R. Crim P. 16(a)(1)(G); United States v. Richmond, 153 F.R.D. 7, 8 (D.

Mass. 1994) (disclosure of existing summaries of experts must occur “forthwith”; others

[written summaries of experts] no later than 45 days before trial); United States v. Barrett,

703 F.2d 1076, 1081 (9th Cir. 1982) (“fairness requires that adequate notice be given to the

defense to check the findings and conclusions of the government’s experts”); United States

v. Edwardo‐Franco, 885 F.2d 1002, 1009 (2d Cir. 1989) (defendants could not hire their own

expert “until they were informed of the adverse report of the government expert”).

       12.    A description of any prior conviction or prior “similar act” you will seek to

introduce at trial. Fed. R. Evid. 404(b) (requiring “reasonable notice in advance of trial …

of the general nature of any such evidence”); United States v. Cook, 608 F.2d 1175, 1186

(9th Cir. 1979) (en banc) (“[t]rial by ambush” is “counterproductive in terms of judicial

economy”), overruled in part on other grounds by Luce v. United States, 469 U.S. 38 (1984).


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       13.    The personnel files of each law enforcement agent who will testify in the

case. The Assistant U.S. Attorney should direct that such files be examined for evidence

of any allegations that any officer has ever made a false statement or has a reputation for

dishonesty. United States v. Henthorn, 931 F.2d 29, 30‐31 (9th Cir. 1991); Kyles, 514 U.S. at

437 (“prosecutor has a duty to learn of any favorable evidence known to the others acting

on the government’s behalf”); see United States v. Calise, 996 F.2d 1019, 1021 (9th Cir. 1993)

(error not to disclose magistrate’s characterization of agent’s testimony as “absolutely

incredible” which was in personnel file); see United States v. Kiszewski, 877 F.2d 210, 216

(2d Cir. 1989) (court must conduct in camera review of agent’s personnel file to determine

if impeachment matter [allegations that agent accepted bribes] should be disclosed).

       14.    Reports and records relating to any eavesdropping, wiretapping, or

electronic recording of any kind relating to this case. See 18 U.S.C. §§ 2511‐ 2522.

       15.    All notes or other writings or documents used by a prospective government

witness before the grand jury. United States v. Wallace, 848 F.2d 1464, 1470‐71 (9th Cir.

1988) (by referring to and using the notes during testimony before the grand jury, witness

“adopt[ed] or approv[ed] of the statements as her own”).

       16.    The names and addresses of all percipient witnesses interviewed by the

government whom the government does not intend to call at the trial. United States v.

Cadet, 727 F.2d 1453, 1469 (9th Cir. 1984).




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       17.    The arrest and conviction record of each prospective government witness.

United States v. Strifler, 851 F.2d 1197, 1202 (9th Cir. 1988) (criminal records of witnesses

must be disclosed even if contained in witness’s probation file); United States v. Auten, 632

F.2d 478, 481‐82 (5th Cir. 1980). The government is required to search both national and

local criminal record files. See Perdomo, 929 F.2d at 970; United States v. Alvarez, 358 F.3d

1194, 1207‐08 (9th Cir. 2004) (entitled to disclosure of Brady material in presentence

reports); Carriger v. Stewart, 132 F.3d 463, 480 (9th Cir. 1997) (when star witness had long

criminal record, it was “the state’s obligation to turn over all information bearing on that

witness’s credibility”).

       18.    Any evidence that a criminal case has recently been dismissed against any

prospective government witness. See United States v. Smith, 77 F.3d 511, 514‐15 (D.C. Cir.

1996) (dismissal of two felony cases pending against prosecution witness was material to

impeachment and should have been disclosed pursuant to Brady); United States v.

Anderson, 881 F.2d 1128, 1138‐39 (D.C. Cir. 1989). See also Giglio v. United States, 405 U.S.

150 (1972) (credibility of witness).

       19.    Any evidence that any prospective government witness has any criminal

charge pending against him. United States v. Fried, 486 F.2d 201, 203 (2d Cir. 1973); United

States v. Maynard, 476 F.2d 1170, 1174 (D.C. Cir. 1973) (pending indictment can be relevant

to bias and motive of witness).




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       20.    Any evidence that any prospective government witness is under

investigation by federal or state authorities. United States v. Chitty, 760 F.2d 425, 428 (2d

Cir. 1985).

       21.    Reports, records, or memoranda of federal or state agencies which describe,

refer to, or otherwise comment upon their relationship with any informant involved in

this case. Roviaro v. United States, 353 U.S. 53 (1957); U.S. Const. amend. VI.

       22.    Any evidence of express or implicit understandings, offers of immunity,

special treatment while in custody, or of past, present, or future compensation between

the government or any of its agents and any prospective government witness or his agent.

See Giglio, 405 U.S. at 152‐55 (agreement not to prosecute); United States v. Shaffer, 789 F.2d

682, 689 (9th Cir. 1986) (monies paid for ongoing undercover cooperation in another case);

United States v. Butler, 567 F.2d 885, 889 (9th Cir. 1978) (prosecutor’s “assurances” of

future benefits); United States v. Risken, 788 F.2d 1361, 1375 (8th Cir. 1986) (implied

contingent fees); Edwardo‐Franco, 885 F.2d at 1010 (earnings of informant in past cases

“highly relevant to the question of his potential bias and interest”) (quoting United States

v. Leja, 568 F.2d 493, 499 (6th Cir. 1977)); United States v. Partin, 493 F.2d 750, 759 (5th Cir.

1974) (“protective” custody status, per diem and special privileges); Brown v. Wainwright,

785 F.2d 1457, 1465 (11th Cir. 1986) (implicit understanding must be disclosed even if no

“promise” and even if conditional); United States v. Boyd, 55 F.3d 239 (7th Cir. 1995)

(reversible error not to disclose favors to cooperating witnesses, including use of illegal


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drugs, regular unsupervised access to female visitors which facilitated sex and drugs in

United States Attorney’s office, and gifts of money, beer, cigarettes, etc.); United States v.

Burnside, 824 F. Supp. 1215, 1259 (N.D. Ill. 1993) (“defendants ... [are] entitled to know ...

the government’s lenient security measures, the absence of drug testing and the other

benefits, all of which pointed to an implicit and illicit deal between the government and

its witnesses”).

       23.    Any evidence that any prospective witness has applied for, or requested

from, the government any consideration or benefit, including, but not limited to, any plea

bargain, dismissal of any charge, sentence reduction or early parole, whether or not the

government agreed to such a request. Reutter v. Solem, 888 F.2d 578, 581 (8th Cir. 1989);

Brown v. Dugger, 831 F.2d 1547, 1558 (11th Cir. 1987).

       24.    Any evidence of any discussion about, or advice concerning, any plea

bargain or requested benefit between the government and any prospective witness.

United States v. Kojayan, 8 F.3d 1315, 1322 (9th Cir. 1992) (conviction reversed and case

remanded to consider dismissal as sanction for government’s failure to disclose deal

between witness and government, which witness government chose not to call at trial);

Haber v. Wainwright, 756 F.2d 1520, 1523‐24 (11th Cir. 1985) (government “advice” to

witness must be disclosed); Campbell v. Reed, 594 F.2d 4, 7 (4th Cir. 1979) (agreement

between the prosecutor and the witness’s attorney, where witness was informed that

“everything would be all right,” must be disclosed); Du Bose v. Lefevre, 619 F.2d 973, 978‐


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79 (2d Cir. 1980) (prosecutor’s statement to the witness that he would “do the right thing”

must be disclosed to the defense even if the witness is unaware of its exact meaning).

United States v. Blanco, 392 F.3d 382, 392 (9th Cir. 2004) (“special immigration treatment

by the INS and the DEA was highly relevant impeachment material”); Silva v. Brown, 416

F.3d 980, 986 (9th Cir. 2005) (government should have disclosed “the full extent of the

prosecution’s deal” with the witness); Horton v. Mayle, 408 F.3d 570, 578‐79 (9th Cir. 2005)

(failure to disclose leniency deal with witness was material).

       25.    The full scope of any witness’s past cooperation with the government,

including, but not limited to, all monies, benefits and promises received in exchange for

cooperation, the full extent of the witness’s assets, and the status of the witness’s present

and past income tax liability. Shaffer, 789 F.2d at 688‐89 & n.7; Edwardo‐Franco, 885 F.2d

at 1009‐10 (evidence of past services highly relevant to bias and interest). Bagley v.

Lumpkin, 798 F.2d 1297, 1302 (9th Cir. 1986) (reversible error to fail to disclose contracts

that would give impeachment evidence against key witnesses who were hired by

government to investigate the defendant); Blanco, 392 F.3d at 392 (special immigration

treatment from INS and DEA); Singh v. Prunty, 142 F.3d 1157, 1161‐62 (9th Cir. 1998)

(prosecutor’s failure to disclose cooperation agreement with key witness against

defendant).

       26.    All statements of any prospective witness relevant to his testimony or

relevant to impeachment or bias. See Kyles, 514 U.S. at 454 (reversible error not to disclose


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evidence of misidentification by crucial witness); United States v. Brumel‐Alvarez, 991 F.2d

1452, 1463‐64 (9th Cir. 1992) (informant’s recantation of earlier statement to DEA had to

be disclosed under the Jencks Act, 18 U.S.C. § 3500 (2000), as it bore on credibility); United

States v. Tincher, 907 F.2d 600, 602 (6th Cir. 1990) (reversible error for prosecutor to

withhold grand jury testimony of witness that could contradict his trial testimony).

United States v. Abel, 469 U.S. 45, 52 (1984) (“Proof of bias is almost always relevant

because the jury, as finder of fact and weigher of credibility, has historically been entitled

to assess all evidence which might bear on the accuracy and truth of a witness’s

testimony.”); Wicktor, 403 F. Supp. 2d at 967 (officer who testifies at a preliminary hearing

based on written reports of other detectives adopts those detectives’ reports as his

“statements” for Jencks Act purposes); United States v. Service Deli Inc., 151 F.3d 938, 942‐

43 (9th Cir. 1998) (summary of interview notes not appropriate when it fails to disclose

material information in the notes); Riley, 189 F.3d at 803 (reversible error to destroy notes

from interview when there “was no substitute for the notes except the recollections of the

agent and the witness, which differed in several respects”); United States v. Ogbuehi, 18

F.3d 807, 811 (9th Cir. 1994) (where notes taken during interview with co‐defendant were

read back from time to time to confirm their accuracy, trial court should have reviewed

the notes in camera to determine whether they were a statement); Boshell, 952 F.2d at 1105

(defendant’s “confirmation of the facts in the notes before they were dictated on tape

makes the notes and the tape producible under Jencks”); United States v. Steinberg, 99 F.3d


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1486, 1491 (9th Cir. 1996) (requiring disclosure that witness was involved in ongoing

criminal activities while working as government informant and that witness owed

defendant money), disapproved of on other grounds by United States v. Foster, 165 F.3d

689, 692 n.5 (9th Cir. 1999).

       27.    Any evidence that any prospective witness has made an inconsistent

statement to the government or any of its agents with respect to his or her proposed

testimony.    See Kyles, 514 U.S. at 454 (reversible error not to disclose evidence of

misidentification by crucial witness); United States v. Cuffie, 80 F.3d 514, 518 (D.C. Cir.

1996) (reversible error not to disclose evidence that prosecution witness had lied under

oath in a previous court proceeding involving same drug conspiracy); United States v.

Isgro, 974 F.2d 1091, 1099 (9th Cir. 1992) (although dismissal of indictment was not

warranted, the court found “intolerable” misconduct where prosecutor failed to disclose

prior grand jury testimony of witness which was inconsistent with his trial testimony);

McDowell v. Dixon, 858 F.2d 945, 949 (4th Cir. 1988) (reversible error to withhold victim’s

prior inconsistent statement to police about description of attacker); Lindsey v. King, 769

F.2d 1034, 1041‐43 (5th Cir. 1985) (reversible error to withhold eyewitness’s original

statement to police that he could not identify assailant); Chavis v. North Carolina, 637 F.2d

213, 223 (4th Cir. 1980) (contradictory statements of witness must be disclosed); Powell v.

Wiman, 287 F.2d 275, 279‐80 (5th Cir. 1961) (same). United States v. Sudikoff, 36 F. Supp.

2d 1196, 1202 (C.D. Cal. 1999) (“any variations in an accomplice witness’s proposed


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testimony could be considered favorable to the defense and the existence of such

differences should be disclosed under Brady”).

       28.    Any evidence that any prospective government witness has made a

statement inconsistent with or contradictory to any statement by any other person,

whether or not a prospective witness. See United States v. Minsky, 963 F.2d 870, 874‐76

(6th Cir. 1992) (witness’s statement to FBI contradicted by third party); Hudson v.

Blackburn, 601 F.2d 785, 789 (5th Cir. 1979) (statement of police officer refuting witness’s

statement that he identified defendant at lineup); Hudson v. Whitley, 979 F.2d 1058, 1064

(5th Cir. 1992) (statement of witness identifying another person as killer); United States v.

Galvis‐Valderamma, 841 F. Supp. 600, 607‐10 (D.N.J. 1994) (new trial granted where

statements made by arresting officer to FBI agent that bag of heroin found in car was not

in plain view should have been disclosed); United States v. Hibler, 463 F.2d 455, 460 (9th

Cir. 1972) (information may be material even if it speaks only to defendant’s credibility).

       29.    Any evidence that any government witness has threatened another

government witness in an attempt to influence his testimony. United States v. O’Conner,

64 F.3d 355, 359‐60 (8th Cir. 1995).

       30.    Any evidence that a witness has engaged in crimes even though he has not

been convicted of those crimes. See United States v. Osorio, 929 F.2d 753, 761 (1st Cir. 1991)

(prosecutor “using a witness with an impeachable past has a constitutionally derived

duty to search for and produce impeachment information requested regarding the


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witness”); Giglio, 405 U.S. at 154 (evidence that witnesses might not be credible is

material). Powell, 287 F.2d at 280‐81 (admission of witness to prosecutor that he engaged

in several crimes should have been disclosed); United States v. Boffa, 513 F. Supp. 444, 500

(D. Del. 1980) (prior bad acts of witness discoverable); Burnside, 824 F. Supp. at 1271‐72

(reversible error not to disclose ongoing illegal drug use by cooperating witnesses).

       31.    Any evidence that any prospective government witness has ever made any

false statement to law enforcement authorities. United States v. Bernal‐Obeso, 989 F.2d 331,

336‐37 (9th Cir. 1993) (informant’s lie to DEA about his criminal record); Brumel‐Alvarez,

991 F.2d at 1458 (DEA agent’s opinion of informant credibility); Strifler, 851 F.2d at 1202

(probation file listing instances of the witness lying to authorities); Minsky, 963 F.2d at 875

(error not to disclose witness’s false statements to FBI); Carriger, 132 F.3d at 480 (when

star witness had long criminal record, it was “the state’s obligation to turn over all

information bearing on that witness’s credibility”); Benn v. Lambert, 283 F.3d 1040, 1056

(9th Cir. 2002) (failure to disclose evidence that key witness had previously falsely

accused defendant of murder).

       32.    Any evidence that any witness has a tendency to lie or exaggerate his

testimony. Brumel‐Alvarez, 991 F.2d at 1458 (DEA agent’s negative view of informantʹs

credibility); Strifler, 851 F.2d at 1202 (must disclose probation file of witness showing

tendency to lie or “overcompensate”).




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       33.    Any evidence that any prospective witness has consumed alcohol or drugs

prior to witnessing or participating in the events that gave rise to his testimony or any

time prior to testifying in court. See United States v. Butler, 481 F.2d 531, 534‐35 (D.C. Cir.

1973) (drug use impairs memory, judgment, and credibility); People v. Santos, 2003 Guam

1, 9 (2003) (witness’s drug use relevant for impeaching perception and memory); Benn,

283 F.3d at 1056 (“evidence that [witness] was using drugs during the trial would reflect

on his competence and credibility”); Creekmore v. District Court of Eighth Judicial Dist. of

State of Mont., 745 F.2d 1236, 1238 (9th Cir. 1984) (“[t]he goal of cross‐examination is to

expose flaws in a witness’s memory, perception and narration”); Burnside, 824 F. Supp. at

1265 (reversible error to fail to disclose witnesses’ drug use because illegal drug use by

the cooperating witness was relevant to the witnesses’ abilities to recollect and relate

events and “clear inducements from which a fact finder could infer that these witnesses

may have wanted to stay on the government prosecutors’ good side” and adjusted their

testimony accordingly).

       34.    Any medical, psychological or psychiatric evidence tending to show that

any prospective witness’s ability to perceive, remember, communicate, or tell the truth is

impaired. See Bailey v. Rae, 339 F.3d 1107, 1114‐15 (9th Cir. 2003) (when consent was at

issue, government should have disclosed reports that developmentally‐delayed alleged

victim knew the difference between appropriate and inappropriate touching). United

States v. Lindstrom, 698 F.2d 1154, 1163‐68 (11th Cir. 1983) (psychiatric records relevant to


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credibility); Chavis, 637 F.2d at 224 (psychiatric records reflecting on the competency or

credibility of witness); United States v. McFarland, 371 F.2d 701, 705 (2d Cir. 1966) (prior

hospitalizations of witness for mental illness); Powell, 287 F.2d at 279 (same).

       35.      Any evidence that a prospective government witness is biased or

prejudiced against the defendant or has a motive to lie, exaggerate, falsify or distort his

testimony. See Strifler, 851 F.2d at 1202 (motive to inform discoverable); United States v.

Bagley, 473 U.S. 667, 683 (1985) (failure to disclose that witnesses might have been biased

against defendant).

       36.      Any impeaching or bad character evidence relating to any government

witness, especially informants. Bernal‐Obeso, 989 F.2d at 335 (“it is essential that relevant

evidence bearing on the credibility of an informant‐witness be timely revealed … to

defense counsel as required by Giglio”); Carriger, 132 F.3d at 497‐80 (“[t]he prosecution

has a duty to learn of any exculpatory evidence known to others acting on the

government’s behalf”); Giglio, 405 U.S. at 154 (evidence affecting credibility of witnesses

is material).

       37.      Any evidence that a prospective government witness has not passed a

polygraph examination or had inconclusive results. Carter v. Rafferty, 826 F.2d 1299, 1305‐

09 (3d Cir. 1987) (oral reports of polygraph examination); United States v. Lynn, 856 F.2d

430, 432‐34 (1st Cir. 1988).




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       38.    Any evidence that someone other than the defendant committed, or was

ever suspected of committing, the crime charged. Brady, 373 U.S. at 85 (statement of

accomplice that he, not defendant, did actual shooting); United States v. Crosby, 75 F.3d

1343, 1346 (9th Cir. 1996) (reversible error not to admit evidence that implied person other

than defendant was the guilty party); United States v. Perkins, 937 F.2d 1397, 1400 (9th Cir.

1991) (“[a] defendant is entitled to introduce evidence which tends to prove someone else

committed the crime”); Banks v. Reynolds, 54 F.3d 1508, 1517‐18 (10th Cir. 1995) (reversible

error not to disclose to defense that another person had been arrested for same crime);

Smith v. Sec’y of N.M. Dep’t of Corr., 50 F.3d 801, 834 (10th Cir. 1995) (defendant denied

fair trial by failure to disclose police reports, physical evidence, and witness statements

that pointed to a different murder suspect); Hudson, 979 F.2d at 1058 (required to disclose

impeachment evidence about conflicting testimony of pretrial line‐up); Miller v. Angliker,

848 F.2d 1312, 1321‐23 (2d Cir. 1988) (reversible error not to disclose evidence suggesting

that person other than defendant committed murders); Bowen v. Maynard, 799 F.2d 593,

613 (10th Cir. 1986) (reversible error not to disclose existence of suspect who resembled

defendant); Walker v. Lockhart, 763 F.2d 942, 955 (8th Cir. 1985) (en banc) (due process

violated when police suppressed statement by prisoner arguably admitting that he

committed the shooting for which the defendant was convicted); Sellers v. Estelle, 651 F.2d

1074, 1076‐77 (5th Cir. 1981) (remanded for failure to disclose police reports suggesting




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guilt of another); Jones v. Jago, 575 F.2d 1164, 1168 (6th Cir. 1978) (error not to disclose

statement of witness not mentioning presence or participation of defendant).

       39.    Any evidence that the government or any of its agents has ever viewed a

prospective government witness as not truthful. Brumel‐Alvarez, 991 F.2d at 1458.

       40.    The name of any person, whether or not he will be a witness, who could not

identify the defendant or was unsure of his identity or his participation in the crime

charged, and the content of any such statement. See Kyles, 514 U.S. at 454 (reversible error

not to disclose evidence of misidentification by crucial witness); Jones, 575 F.2d at 1168

(statement of eyewitness to crime which did not mention defendant must be disclosed);

Jackson v. Wainwright, 390 F.2d 288, 298 (5th Cir. 1968) (prosecution must disclose

statement of witness casting doubt on defendant’s identity); United States v. Wilkins, 326

F.2d 135, 138 (2d Cir. 1964) (reversible error to fail to disclose names of two witnesses

who said that the defendant was not the bank robber after viewing him at police station).

       41.    Any physical evidence tending to exculpate the defendant in whole or in

part, tending to mitigate punishment, or tending to impeach a government witness. See

Miller v. Pate, 386 U.S. 1, 6 (1967) (reversible error not to disclose evidence that clothing

was covered with paint, not blood); United States v. Wood, 57 F.3d 733, 737 (9th Cir. 1995)

(government had duty to disclose results of company research which would have been

useful in impeaching government witnesses). United States v. Park, 319 F. Supp. 2d 1177,

1179 (D. Guam 2004) (“[s]ummaries of conversations prepared by the government are not


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the equivalent of actual notes” for Brady purposes); Bergonzi, 216 F.R.D. at 487 (same);

Paradis v. Arave, 240 F.3d 1169, 1173 (9th Cir. 2001) (Brady obligates prosecutor to turn

over notes taken during interview when government witness gave exculpatory

information for defendant). See also United States v. Alzate, 47 F.3d 1103, 1109‐10 (11th Cir.

1995) (new trial granted where prosecutor failed to correct his misstatement of fact which

prejudiced defendant); Ballinger v. Kerby, 3 F.3d 1371, 1376 (10th Cir. 1993) (due process

violated by failure to produce possibly impeaching photos of crime scene which would

have buttressed defense that witness could not have seen out of windows in order to

identify defendant); United States v. Spagnoulo, 960 F.2d 990, 994 (11th Cir. 1992)

(psychiatric report raising question as to defendant’s sanity and competence); Walker, 763

F.2d at 955 (transcript of prisoner conversation in which he arguably admitted crime for

which defendant on trial); United States v. Poole, 379 F.2d 645, 648 (7th Cir. 1967) (medical

exam showing no evidence of sexual assault); Barbee v. Warden, Md. Penitentiary, 331 F.2d

842, 845 (4th Cir. 1964) (ballistics report showing gun in evidence was not the assault

weapon); Ashley v. Texas, 319 F.2d 80, 85 (5th Cir. 1963) (psychologist’s report that

defendant was incompetent to stand trial); United States v. Weintraub, 871 F.2d 1257, 1264

(5th Cir. 1989) (sentence vacated where prosecutor failed to disclose testimony of co‐

conspirator which lessened amount of drugs attributable to the defendant).

       42.    Any evidence mitigating the punishment of the defendant. Brady, 373 U.S.

at 85 (accomplice statement that he, not defendant, was actual shooter mitigates


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punishment of defendant); Blazak v. Ricketts, 1 F.3d 891, 897 (9th Cir. 1993) (due process

violated where psychiatric reports questioning defendant’s competence to stand trial

were not properly considered by trial court); Spagnoulo, 960 F.2d at 994 (psychiatric report

raising question as to defendantʹs sanity and competence); Weintraub, 871 F.2d at 1264

(sentence vacated where prosecutor failed to disclose testimony of co‐conspirator which

lessened amount of drugs attributable to defendant); Lewis v. Lane, 832 F.2d 1446, 1459

(7th Cir. 1987) (evidence that defendant did not have valid prior conviction which made

him death eligible).

       43.    The commencement and termination date of the grand jury that indicted

the defendant. In re Grand Jury Investigation, 903 F.2d 180, 182 (3d Cir. 1990). See also 28

U.S.C. § 1867(a) (“the defendant may move to dismiss the indictment or stay the

proceedings against him on the ground of substantial failure to comply with the

provisions of this title in selecting the grand or petit jury”); Fed. R. Crim. P. 6(b)(2) (“[a]

party may move to dismiss the indictment based on an objection to the grand jury”).

       44.    The number (not names) of grand jurors attending each session of the grand

jury and the number (not names) of grand jurors voting to indict. See United States v.

Leverage Funding Systems, Inc., 637 F.2d 645 (9th Cir. 1980) (prerequisites to valid

indictment are that “every grand jury session was attended by at least 16 jurors” and that

“at least 12 jurors voted to indict”); United States v. Alter, 482 F.2d 1016, 1029 n.21 (9th Cir.

1973) (ministerial matters like court’s legal instructions to grand jury must be disclosed).


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       45.    The name of every prospective government witness to be called at trial. See

Arizona v. Manypenny, 672 F.2d 761, 765 (9th Cir. 1982) (court has inherent authority to

order discovery of names of witnesses); United States v. Armstrong, 621 F.2d 951, 954‐55

(9th Cir. 1980) (same); United States v. Tucker, 716 F.2d 576, 583 (9th Cir. 1983) (ineffective

assistance of counsel to fail to interview government witnesses before trial); Callahan v.

United States, 371 F.2d 658, 660 (9th Cir. 1967) (“[b]oth sides have the right to interview

witnesses before trial”).

                     THE PROSECUTOR HAS A DUTY OF INQUIRY

       The prosecutor is requested to make personal and specific inquiry of each

government agent and agency in any way connected to the case for each of the above

items, even if the agent or agency is outside the District of Oregon. Kyles, 514 U.S. at 437

(“the individual prosecutor has a duty to learn of any favorable evidence known to the

others acting on the government’s behalf in the case, including the police”); Alvarez, 86

F.3d at 905 (“the better practice is for the prosecutor herself to review [surveillance notes

for Brady materials]”); Wood, 57 F.3d at 737 (prosecutor has duty to consult with FDA for

Brady material); Bryan, 868 F.2d at 1036‐37 (prosecutor deemed to have knowledge of, and

access to, anything in possession, custody or control of any federal agency evidence if

outside district of prosecution); United States v. Santiago, 46 F.3d 885, 893‐94 (9th Cir. 1995)

(government has access to, or “possession and control” of, Bureau of Prisons’ files on

inmates.


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       United States v. Colima‐Monge, 962 F. Supp. 1337, 1341 (D. Or. 1997) (documents

held by an interjurisdictional agency deemed within the possession, custody, or control

of the federal government). “[T]he prudent prosecutor will resolve doubtful questions in

favor of disclosure.” Kyles, 514 U.S. at 439 (quoting United States v. Agurs, 427 U.S. 97, 108

(1976)); Carriger, 132 F.3d at 479‐80 (“the prosecution has a duty to learn of any

exculpatory evidence known to others acting on the government’s behalf”). See also

Demjanjuk v. Petrovsky, 10 F.3d 338, 353 (6th Cir. 1993) (in not disclosing exculpatory

evidence, government perpetrated fraud on the court by making a “the‐right‐hand‐did‐

not‐know‐what‐the‐left‐hand‐was‐doing argument”); Osorio, 929 F.2d at 762 (“the

prosecutor is duty bound to demand compliance with disclosure responsibilities by all

relevant dimensions of the government”); Perdomo, 929 F.2d at 969‐71 (U.S. Attorney

responsible for locating criminal record in local jurisdiction as well as NCIC records);

United States v. Endicott, 869 F.2d 452 455‐56 (9th Cir. 1989) (knowledge of additional

payments to witness imputed to prosecutor); Butler, 567 F.2d at 891 (prosecutor

responsible for promise by agent even if prosecutor did not know of it); Bailleaux, 685 F.2d

at 1113 (tape in custody of FBI is deemed in custody of U.S. Attorney), receded from on

other grounds by Miller, 874 F.2d at 1255; United States v. Brooks, 966 F.2d 1500, 1503 (D.C.

Cir. 1992) (prosecutor must search police files for information affecting credibility of

police officer who was key witness and who, after first trial, was found shot in her

apartment with revolver in presence of another police officer); Auten, 632 F.2d at 481


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(information in files of federal agency is deemed in possession of prosecutor); United

States v. Jackson, 780 F.2d 1305, 1308 n.2 (7th Cir. 1986) (FBI’s knowledge attributable to

prosecutor); Martinez v. Wainwright, 621 F.2d 184, 186‐87 (5th Cir. 1980) (rap sheet in

medical examiner’s file is deemed in custody of prosecution); Barbee, 331 F.2d at 846

(exculpatory ballistics report known only to police deemed in possession of prosecutor);

United States v. McCord, 509 F.2d 334, 342 n.14 (D.C. Cir. 1974) (en banc) (“prosecution”

includes “all agencies of the federal government involved in any way” in the case).

           THE PROSECUTOR HAS A DUTY OF CONTINUING DISCOVERY

       The government has a continuing duty to disclose the foregoing evidence as soon

as the government or any of its agents discovers its existence. See Mooney v. Holohan, 294

U.S. 103, 108 (1935) (per curiam) (prosecutor must disclose that witness had committed

perjury even when he first learns this at trial); United States v. Chestang, 849 F.2d 528, 532

(11th Cir. 1988) (continuing duty to disclose breached when prosecutor did not disclose

fact that witness would soon accept immunity offer).

       The Ninth Circuit does not hesitate to “condemn” any prosecutorial breach of trust

respecting its duty to disclose arguably favorable evidence. United States v. McClintock,

748 F.2d 1278, 1285 (9th Cir. 1984). Any doubt about the need to disclose such evidence

must be resolved “in favor of disclosure.” United States v. Ramirez, 608 F.2d 1261, 1266

n.6 (9th Cir. 1979); Kyles, 514 U.S. at 439; Agurs, 427 U.S. at 108.




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       The duty to disclose encompasses even those documents and statements the

defense might already have. Gantt v. Roe, 389 F.3d 908, 913 (9th Cir. 2004) (“Though

defense counsel could have conducted his own investigation, he was surely entitled to

rely on the prosecution’s representation that it was sharing the fruits of the police

investigation.”); United States v. Howell, 231 F.3d 615, 625 (9th Cir. 2000) (“[t]he availability

of particular statements through the defendant himself does not negate the government’s

duty to disclose”).

       Disclosure is required even if, in the government’s view, the evidence is not

admissible at trial. Spence v. Johnson, 80 F.3d 989, 1005 n.14 (5th Cir. 1996). Sudikoff, 36 F.

Supp. 2d at 1201 (Brady requires “the disclosure of information that is likely to result in

admissible evidence that would give the jury or court a more complete basis for judging

guilt or punishment”).

       Should the prosecutor have a good faith doubt whether evidence should be

disclosed, he or she is required to ask the court for an in camera review. See United States

v. Scafe, 822 F.2d 928, 936 (10th Cir. 1987) (good faith belief that defendant’s statements

not discoverable does not excuse failure to disclose); United States v. Lehman, 756 F.2d 725,

729 (9th Cir. 1985) (prosecution must either disclose the material or submit it to the court);

Cadet, 727 F.2d at 1470 (“This unfortunate contretemps could have been avoided had the

United States Attorney’s Office been willing to produce all Brady and Rule 16 material in




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a timely manner and to submit material as to which there was any doubt for in camera

review.”).

      RESPECTFULLY submitted this 21st day of July 2020.

                                      /s/ Bryan Francesconi
                                      Bryan Francesconi
                                      Assistant Federal Public Defender




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